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 1                                                                   The Honorable Lauren King
 2

 3

 4

 5

 6

 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                       NO. 2:25-cv-00244
10                             Plaintiffs,              AMENDED DECLARATION
                                                        INDEX IN SUPPORT OF
11      v.                                              PLAINTIFFS’ EMERGENCY
                                                        MOTION FOR TEMPORARY
12   DONALD J. TRUMP, in his official                   RESTRAINING ORDER
     capacity as President of the United States of
13   America, et al.,                                   NOTE ON MOTION CALENDAR:
                                                        February 7, 2025
14                             Defendants.
15

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17

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     AMENDED DECLARATION INDEX                                   ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
     NO. 2:25-cv-00244                                                800 Fifth Avenue, Suite 2000
                                                                        Seattle, WA 98104-3188
                                                                             (206) 464-7744
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 1
         ECF                Name                                       Title
 2
          13       Physician Plaintiff 1                             Plaintiff
 3
          14       Physician Plaintiff 2                             Plaintiff
 4
          15       Physician Plaintiff 3                             Plaintiff
 5
                                                                    CEO
 6                   Timothy H. Dellit           Executive Vice President for Medical Affairs
          16
                           MD                         Paul G. Ramsey Endowed Deane
 7                                               University of Washington School of Medicine
 8                                                          Assistant Attorney General
          17         William McGinty                       Complex Litigation Division
 9                                                       Washington State Attorney General
10                 Armand Antommaria
          18                                                Pediatrician and Bioethicist
                       MD, PHD
11
                                                           Pediatric Endocrinologist
12
                                                       Associate Professor of Pediatrics
                          Dan Shumer
13        19                                                   Clinical Director
                             MD
                                                      Child and Adolescent Gender Clinic
14                                               Mott Children’s Hospital at Michigan Medicine

15        20             Elihu Hillinger                            Individual

16        21                  L.L.                                  Individual

17        22                  L.M.                                  Individual
          23        Luna Crone-Baron                                Individual
18
          24                  S.O.                                  Individual
19
          25                  V.S.                                  Individual
20
          26                  A.F.                                    Parent
21
          27             Allison Jansen                               Parent
22
          28                 A.M.                                     Parent
23
          29                 B.M.                                     Parent
24        30         Brett J. Bertram                                 Parent
25        31                  C.K.                                    Parent
26        32                  D.C.                                    Parent


     DECLARATION INDEX                               1               ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
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 1
         ECF               Name                                  Title
 2
          33                 E.C.                                Parent
 3
          34             Elbe Seaton                             Parent
 4
          35         Elizabeth Grande                            Parent
 5
          36                 F.T.                                Parent
 6        37                 G.T.                                Parent
 7        38                 H.E.                                Parent
 8        39                 H.B.                                Parent
 9        40             Heidi Ullom                             Parent

10        41                H.M.                                 Parent

11        42                 H.R.                                Parent
          43              Jess Khan                              Parent
12
          44             Jessica Brady                           Parent
13
          45                 J.M.                                Parent
14
          46         Josephine Brinda                            Parent
15
          47                 K.B.                                Parent
16
          48                K.C.C                                Parent
17
          49                 K.D.                                Parent
18        50                 K.G.                                Parent
19        51                 K.H.                                Parent
20        52                 K.S.                                Parent
21        53                K.W.                                 Parent

22        54                 M.B.                                Parent

23        55     Melody & Zach Billmeyer                         Parent
                                 Docket 56 - Court Filed Summonses
24
          57                M.E.S.                               Parent
25
          58                 M.F.                                Parent
26


     DECLARATION INDEX                            2             ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
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 1
         ECF                Name                                  Title
 2
          59             M.T. and T.T.                            Parent
 3
          60                 N.M.                                 Parent
 4
          61              Pam Riddle                              Parent
 5
          62                 P.R.                                 Parent
 6        63                 R.D.                                 Parent
 7        64         Rebecca Voelkel                              Parent
 8        65                 R.H.                                 Parent
 9        66                 R.T.                                 Parent

10        67                 S.B.                                 Parent

11        68                 S.F.                                 Parent
          69                 S.N.                                 Parent
12
          70                 S.O.                                 Parent
13
          71                 S.S.                                 Parent
14
          72                 T.O.                                 Parent
15
          73                 A.M.                                Provider
16
          74               A.M.M.                                Provider
17
                                                            Executive Director
          75         Anne Van Avery
18                                                          Family Tree Clinic

19        76                 A.P.                                Provider
          77                 B.M.                                Provider
20
                                                              Commissioner
21        78       Brooke Cunningham
                                                      Minnesota Department of Health
22                        Carrie Link             Assistant Professor of Family Medicine
          79
                             MD                          University of Minnesota
23
          80                 C.L.                                Provider
24
                                                         Mental Health Counselor
25        81             Corrie Piper
                                                         Alive Holistic Counseling
26


     DECLARATION INDEX                            3              ATTORNEY GENERAL OF WASHINGTON
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 1
         ECF                Name                                    Title
 2
                                                Board-Certified Family Medicine Physician
 3                        Crystal Beal                 University of Washington
          82
                             MD                            School of Medicine
 4
                                                        School of Public Health
 5        83
                      Emmett Stanfield                Independent Clinical Social Worker
 6      84 (ex.)
 7        85                 E.K.                                 Provider
 8                                                           Clinical Instructor
          86             Elika McGuire         University of Washington School of Medicine
 9                                                       Department of Psychiatry
10                                                            Medicaid Director
          87             Emma Sandoe
                                                           Oregon Health Authority
11
                                                          Family Medicine Physician
12        88             Erik Haugland                      Gender Cae Specialist
13                                                         North Memorial Health

14        89                 F.L.                                 Provider
          90                 G.M.                                 Provider
15
          91                 H.L.                                 Provider
16
                                                Vice President for Research and Innovation
17        92              Irem Tumer
                                                         Oregon State University
18
          93        Janna Gewirtz O'Brien                Board-Certified Pediatrician
19
                                                        Assistant Commissioner
20        94             John Connolly
                                                Minnesota Department of Human Services
21                    Katherine Oyster                 Board-Certified Family Medicine
          95
                            MD                                 Allina Health
22
                                                             Medical Director
23                 Kathleen Kennedy Miller
          96                                                Adolescent Medicine
                             MD
24                                                          Children’s Minnesota

25                                                           Executive Director
          97             Kelly Hower                       Oregon State University
26                                                         Student Health Services


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 1
         ECF               Name                                    Title
 2
                    Kelsey Leonardsmit                          Director
 3        98
                       MD, FAAFP                 Midwest Trans Health Education Network
 4                  Mackenzie Dunham            Licensed Independent Clinical Social Worker
          99
                     LICSW, LCSW                            Wild Heart Society
 5
                         Maria Kaefer                        Medical Director
 6        100
                             MD                              Famil Tree Clinic
 7        101             Marie Doe                               Provider
 8                 Marie-Clarie Buckley
          102                                               Assistant Professor
                           MD
 9
                                                           Executive Director
10        103      Nicole Krishnaswami
                                                          Oregon Medical Board
11                 Pamela Gigi Chawla                          President
          104
                      MD, MHA                      Minnesota Board of Medical Practice
12
          105                R.R.                                 Provider
13
          106                R.C.                                 Provider
14
                                                         Executive Vice President
15        107            Tim Goldfarb                Interiem Chief Executive Officer
                                                    Oregon Health & Science University
16
          108                W.J.                                 Provider
17
                    Zack Barnett-Kern                  Licensed Independent Clinical
          109
18                   LICSW, MSW                           Social Worker Associate
19                                      Docket 110 – Boyd NOA

20        111               Z.C.L.                                Provider
                    A. Doe and B. Doe
21        112                                                    Providers
                           MD
22        113            Anne Johnson                           Organization

23                   Charissa Fotinos                      Medicaid Director
          114
                       MD, MSc                    Washington State Health Care Authority
24
                                                           Executive Director
          115            Danni Askini
25                                                        Gender Justice League
26


     DECLARATION INDEX                             5             ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
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 1
         ECF                Name                                   Title
 2
                                                            Senior Vice President
 3                  Jeffrey G. Ojemann
          116                                             Chief Physician Executive
                            MD
                                                              Seattle Children’s
 4
                                                            Executive Director
 5        117         Kyle S. Karinen
                                                      Washington Medical Commission
 6                                                           Executive Director
          118        Matthew Wilson
                                                             Oasis Youth Center
 7
                                                              Chief Executive
 8        119             Mike Glenn
                                                            Jefferson Healthcare
 9                                             Community Advocacy and Outreach Director
          120        Rebekah Gardea
10                                                 QLaw Foundation of Washington
                                                        Queer Youth Services Manager
11        121            Sarah Glebe
                                                          Northwest Youth Services
12
                                                            Executive Director
13        122            Taffy Johnson         United Territories of Pacific Islander Alliance
                                                                Washington
14
           DATED this 7th day of February 2025.
15
                                               NICHOLAS W. BROWN
16                                             Washington State Attorney General
17                                             /s/ William McGinty
                                               WILLIAM MCGINTY, WSBA #41868
18                                             CYNTHIA ALEXANDER, WSBA #46019
                                               TERA HEINTZ, WSBA #54921
19                                             ANDREW R.W. HUGHES, WSBA #49515
                                               NEAL LUNA, WSBA #34085
20                                             CRISTINA SEPE, WSBA #53609
                                               LUCY WOLF, WSBA #59028
21                                             Assistant Attorneys General
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24                                             (360) 709-6470
                                               Tera.Heintz@atg.wa.gov
25                                             Andrew.Hughes@atg.wa.gov
                                               Neal.Luna@atg.wa.gov
26                                             Cristina.Sepe@atg.wa.gov


     DECLARATION INDEX                            6               ATTORNEY GENERAL OF WASHINGTON
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 6                                      Lauryn.Fraas@atg.wa.gov
                                        Colleen.Melody@atg.wa.gov
 7                                      Attorneys for Physicians Plaintiffs 1-3
 8

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                                        State of Minnesota Attorney General
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                                        /s/ James W. Canaday
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                                        Deputy Attorney General
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                                        St. Paul, Minnesota 55101-2130
13                                      (651) 757-1421
                                        james.canaday@ag.state.mn.us
14                                      Attorneys for Plaintiff State of Minnesota
15

16                                      DAN RAYFIELD
                                        State of Oregon Attorney General
17
                                        /s/ Allie M. Boyd
18                                      ALLIE M. BOYD, WSBA #56444
                                        Senior Assistant Attorney General
19                                      Trial Attorney
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20                                      Salem, OR 97301-4096
                                        (503) 947-4700
21                                      allie.m.boyd@doj.oregon.gov
                                        Attorneys for Plaintiff State of Oregon
22
                                        *pro hac vice application forthcoming
23

24

25

26


     DECLARATION INDEX                     7               ATTORNEY GENERAL OF WASHINGTON
                                                                Complex Litigation Division
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